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                                IJNITED STATES DISTRICT COURT
                                      DISTRICT OF KANSAS

LINITED STATES          OFAMERICA,               )
                                                 )
                          Plaintiff,             )
                                                 )
                                                 )       Case   No.   18- 01078
                                                 )
Defendant No.      l:                            )
ANORTHAMERTCANARMS,.22                           )
CALIBERDERRINGER, SERIAL                         )
NUMBERE298473,                                   )

DefendantNo. 2t             I
FIVEROUNDS OF,22 CALIBER )
AMMTJMTTON,                 )

                Defendants. j

                            COMPLAINT FOR F'ORFEITURE IN REM

       Plaintiff United    States of America, by and   tlmugh its attomeys, Stephen R. McAllister,

United States Attomey for the Dishict of Kansas, and Arurette Gumey, Assistant United States

Attomey, brings this complaint and a.lleges as follows in accordance with Supplemental Rule

G(2) of the Federal Rules of Civil Procedure:

                                    NATURE OX'TIIEACTION

        1   .     This is an acti on to forfoit and condemn to the use and benelit of the United States

of America the following property: Defendant No.        l: A North American Arms, .22 calioer
Deninger, serial number E298473 a:rd Defendant No. 2: Five ror.rnds of .22 caliber ammunition

for violations of 21 U.S.C. , 841 et seo.

                                    THE DEF'EI|IDANT IN REM
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       2.Thedefendantswereseizedonoctobett,20TT'bytheKansasHighwayPatrol

during a trafFrc stop on I-70 at milepost 28, in Sherman Cormty, in the District oi            K*t*.
                                  .TURISDICTION AND VENII,D

       3.      Plaintiff brings this action in rem in its own right to forfeit and condemn the

defendant property. This court has jurisdiction over an action commenoed by the
                                                                                                   united States

under 28 U.S.C.   '   1345, and over an action for       forfeitue under 28 U'S'C'     '   1355'


        4,ThisCourthasinremjwisdictionoverthedefendantpropertyunder28U.S.C.
                                                                                           wanant
1355(b). upon frling this complaint, the plaintiff requests thal the court issue an arrest

in rem put*tant to Supplemental Rule G(3)(b), which the             plaintiffwill   exeoute upon the


defendan8 pursuant to 28 U.S.C.          '   1355(d) and Supplemental Rule G(3)(c)'


        5.      Venue    isproperinthisdistrictpursuantto23U'S'C'' 1355(bX1)'becausean

act or omission giving rise to ttre forfeiture occurred in this district'

                                     BASIS FORFORF'EITURE

        6.      The defendants are subjeot to forfeiture pursuant to          18U'S'C' ' 924(d) asthey

were used or involved in a violation of federal criminal          law. Defendant No. I is also subject to

 forfeiture pursuarit to 21 U.S.c.   '       881(a)(11) as it constitutes a lirearm used or intended to be


 used to facilitate the transporlation, sale, receipt, possession, ot concealment
                                                                                  of oonlrolled

 sub$ances.

                                                       FACTS

         7.     Supplemental Rule G(2)(f)           uluires this complaint to state suffrciently detailed

 facts to support a reasonable beiiefthat the govemment            will be able to meet its burden of proof        at
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hial.   Such facts and circumstances supporting the seizure and forfeiture of the defendants are

contained in Exhibit A which is attached hereto and incorporated by reference.

                                       CLAIMX'ORRELIET

         WHEREFORE, the plaintiffrequests that the Court issue a wanant of anest in rem for

the arrest ofthe defendants; that notice of this action be given to all persons who reasonably

appear to be potential claimants of interests in the defendants; that the defendants be forfeited

and condemned to the United States ofAmerica; that the plaintiff be awarded its oosts and

disbursements in this action; and for such other and firther reliefas this Court deems proper and

just.

         The Unitecl States hereby requests that trial ofthe above entifled matter be held in the

City of Wichita, Kansas.

                                                       Respecfily submitted,

                                                       STEPIIEN R. MCALLISTER
                                                             States Attomey
                                                      |fnited')l/lUW.VLttrrt
                                                                   // | |
                                                      t"
                                                       ffi
                                                      Assistant United States ettornJy
                                                      1200 Epic Center, 301 N. Main
                                                      Wichit4 Kansas 67202
                                                      (316) 269-6481
                                                      Annette. gumey@usdoj. gov
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                                            DECI.ARA'TION

       I, Austin M. Roseberry, am a Spccial Agart with the Drug Enforcemeirt Adminisffiion-

       I havo read the conteirts ofthe foregoing Complaint for Forfeiture, and the exhibit

thereto, and   tle   statements contained thereiu are hue to the best of my knowledge and belief.

       I deolare under penalty of perjury that the foregoing is tue and correct.

       Executed       onthis
                               s/(
                               /J+    day ofMarch,2018,




                                                         Special
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            AFFIDAVIT IN SUPI'ORT OF A COMPLAINT F'OR F'ORtrDITURE

     I, Austin M. Rosebeny, being first duly swom, depose and state:


1. I have been employcd as a Special Agent by the Drug Enforcement Administration
     (DEA) since 2012. I firsl served three years in Dotroit, Michigan and then transfened to

     the Dayton, Ohio Resident     Office. My duties include investigation of violations of the

     Controlled Substance Act,'fitle    2i ofthc United   States Code and the forfeitures thereto.

2.   The information containcd in this affidavit is known to me tlrough personal direct

     knowledge, and/or through a review of official reports prepared by other law enforoemsnt

     persormel. This affidavit is submitted in support of a complaint for civil forfeiture.

3.   On October 3,2017, Kansas Highway Patrol Trooper Phillip Baker stopped a car for a

     traffic violation on I-70 at milepost 28, in Sherman County in the District of Kansas.

4.   The driver and only occupant ofthe car was Samantha E, MURPHY, who presented an

     Arkansas driver's license. The car was a rental vehicle that had been rented     in

     Cincinnati, Ohio on September 28,2017 wifrt a retum date on October 3,2017.

5.   During the event, Goodland, Kansas Police Officer Jason Erhart depioyed his K9 around

     the car. Officer Erharl adviscd Trooper Baker that the K9 indicaled to the odor       of

     narcotics coming from the car.

6.   Trooper Baker opened the trunk ofthe car and sawa small gym bag. Insidethe gym bag

     he found a tan plastic bag sitting on top of clothes. When Trooper Baker opened the tan

     plastic bag, he found a clear plaslic bag that conlained a rvhite crystal substance. A field

     test   ofthe white crystal substance indicated positive for the properties of

     methamphetamine. The approximate weight of the white crystal substance was one

     pound, two ounces.
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7.   Trooper Baker also found a fuearm in flre bag. This firearm has been identified as a

     North American Arms , ,22 caliber Deninger, serial number E298473. Also recovered

     were five rounds of .22 caliber ammunition, A metal container in the center console    of

     tle   car contained a glass smoking device with a white residue in it.

8.   Based upon the information set out above, I have probable cause to believe thaf the North

     American Arms, .22 galiber Derringer, serial number 8298473 and the five roun ds of ,22

     caliber ammunition seized in this investigation by the Kansas Highway Patrol constitutes

     property that was used or inlended to be used to facilitate one or more violations of Title

     21, U.S.C. $ 841 et.seq. Accordingly, the fuearm and ammunition are subject to

     forfeiture pursuant to 21 U.S,C. $ 881.




                                                     Austin M. Roseb




     Swom to and subscribed before me this /
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                                                 -  day ofMarch, 2018.




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